















NUMBERS 13-08-482-CR, 13-08-484-CR,


13-08-485-CR, and 13-08-486-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

										

IN RE RAUL GUERRERO


____________________________________________________________


On Petition for Writ of Mandamus.

____________________________________________________________


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Yañez and Benavides 


Per Curiam Memorandum Opinion (1)



	Relator, Raul Guerrero, pro se, filed a petition for writ of mandamus in the above
causes on August 12, 2008.  Relator requests this Court to issue a writ of mandamus
ordering Laura Hinojosa, the District Clerk of Hidalgo County, to file and process his
pleadings.   

	We conclude this Court does not have jurisdiction to grant the requested relief.  This
court does not have mandamus jurisdiction over district clerks unless it is shown that
issuance of the writ is necessary to enforce our jurisdiction.  See Tex. Gov't Code Ann. §
22.221(a), (b) (Vernon 2004); In re Simpson, 997 S.W.2d 939 (Tex. App.-Waco 1999, orig.
proceeding); In re Strickhausen, 994 S.W.2d 936 (Tex. App.-Houston [1st Dist.] 1999, orig.
proceeding); In re Coronado, 980 S.W.2d 691, 692 (Tex. App.-San Antonio 1998, orig.
proceeding); see also In re Hayes, NO. 13-05-454-CV, 2005 Tex. App. LEXIS 5706, *2
(Tex. App.-Corpus Christi 2005, orig. proceeding). 

	When a district clerk refuses to accept a pleading presented for filing, the party
presenting the document can seek relief by filing an application for writ of mandamus in the
district court, or attempting to file the pleading directly with a district judge, explaining in a
verified motion that the clerk refused to accept the pleading for filing.  See In re Bernard,
993 S.W.2d 453, 454-544 (Tex. App.-Houston [1st Dist.] 1999, orig. proceeding)
(O'Connor, J., concurring).

	Relator has neither alleged nor shown that issuance of the writ is necessary to
enforce our jurisdiction.  Accordingly, the petition for writ of mandamus is hereby
DISMISSED for want of jurisdiction.  See Tex. R. App. P. 52.8(a).


										PER CURIAM



Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and

filed this 14th day of August, 2008.















				
1.  See Tex. R. App. P. 52.8(d) ("When denying relief, the court may hand down an opinion but
is not required to do so."); Tex. R. App. P. 47.4 (distinguishing opinions and memorandum opinions).


